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                        UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF OHIO
                               WESTERN DIVISION


JASON RATCLIFF, et al.,                :
                                       :    NO. 1:05-CV-00582
     Plaintiffs,                       :
                                       :    OPINION AND ORDER
                                       :
    v.                                 :
                                       :
                                       :
ERNIE MOORE, et al.,                   :
                                       :
     Defendants.                       :


             This matter is before the Court on the Magistrate Judge’s

October 1, 2008 and October 15, 2008 Report and Recommendations

(docs. 174, 181), Plaintiff’s Objections (docs. 180, 185, 193),

Defendant’s Response (doc. 196), and Plaintiff’s Sur Reply (doc.

198).    For the reasons stated herein, the Court AFFIRMS the Report

and Recommendations, DENIES Plaintiffs’ motions for Partial Summary

Judgment (docs. 82, 96, 110, 115), motion to Appoint Counsel (doc.

112), motion for a Preliminary Injunction (doc. 81), and Brian

Timms’ motions to Join (docs. 83, 97), and GRANTS Defendants’

Motion to Dismiss (doc. 71) and motion for Partial Summary Judgment

(doc 124).

I. Background

             Plaintiffs, Jason Ratcliff (Southern Ohio Correctional

Facility), Darryl Blankenship (Ross Correctional Institution),

Jason Hysell (Southern Ohio Correctional Facility), Chris Roy

(Marion Correctional Institution), and Jeff Weisheit (Trumball
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Correctional Institution), prisoners in the custody of the Ohio

Department of Rehabilitation and Correction (“ODRC”), filed this

action pursuant to 42 U.S.C. § 1983, alleging, inter alia, a

failure to accommodate their Asatru religious practices, seeking

declatory judgment, injunctive relief, and monetary recovery (doc.

1).    In response, Defendants maintain that such claims and motions

should be dismissed as vague, conclusory, and nonjusticiable (doc.

71).    On May 16, 2008, the Magistrate Judge entered his Report and

Recommendation, recommending that Defendants’ motion to dismiss

(doc. 71) be granted; Plaintiffs’ motions for partial summary

judgment (docs. 110, 115) be denied; and Plaintiffs’ motion to

appoint counsel and certify class (doc. 112) be denied (doc. 144).

After this Court referred the matter back to the Magistrate Judge

requesting     that    he    reconsider     his    May       16,   2008   Report    and

Recommendation in light of information contained in a letter from

Plaintiff’s     counsel     in   another    case,       as    well   as   Plaintiff’s

objections, the Magistrate Judge withdrew his previous Report and

Recommendation      and     entered   a    new    one    dated     October   1,    2008

addressing the same motions (doc. 174).

             The Magistrate Judge          entered an additional Report and

Recommendation (doc. 181) on October 15, 2008, addressing Plaintiff

Blankenship’s motions for injunctive relief (doc. 81) and partial

summary judgment (docs. 82, 96); Brian Timms’ motions to join

(docs. 83, 97); and Defendants’ motion for partial summary judgment


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(doc. 124).     Each Report and Recommendation and the objections and

responses thereto will be discussed in turn.

II. October 1, 2008 Report and Recommendation

             In his October 1, 2008 Report and Recommendation, the

Magistrate Judge first considered Defendants’ motion to dismiss

Plaintiffs’ claims regarding their Asatru religious practices (doc.

174).1     The Magistrate Judge determined that Plaintiffs’ claims

should be dismissed, reasoning that each Plaintiff is also a

Plaintiff in Miller, et al. V. Wilkinson, et al., Case No. 2:98-cv-

275, a previously filed class action lawsuit currently pending in

the Eastern Division of this United States District Court, and that

Plaintiffs’ claims in this case are substantially the same as the

claims in Miller (doc. 174).

             In support of this conclusion, the Magistrate Judge,

recognizing     the    federal    courts     desire   to   avoid   “duplicative

litigation,” cited Zide Sport Shop of Ohio, Inc. V. Ed Tobergate

Associates, Inc., 16 Fed. Appx. 433, 437 (6th Cir. 2001), noting

the “first-filed rule” that the court presiding over the earlier

filed action should generally be permitted to proceed to judgment.

The Magistrate Judge further acknowledged that “deferral to the

earlier filed action is appropriate, only where the litigation is

truly duplicative,” such that a “determination in one action leaves



       1
       Plaintiff Blankenship’s non-religious denial of recreation
claim is excepted from Defendants’ motion to dismiss (doc. 71).

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little or nothing to be determined in the other”.                         Smith v.

Securities and Exchange Comm’n, 129 F.3d 356, 360 (6th Cir. 1997).

In considering Plaintiffs’ contention that the instant case has

some factual differences, the Magistrate Judge concluded that

because of the nature of the system wide relief sought in Miller,

the differences here are of no consequence (Id.).

             Similarly,        the    Magistrate    Judge     denied    Plaintiffs’

motions     to     appoint     counsel     and    certify   class,     and   stayed

Plaintiffs’ claims for damages preserving their right to recover if

the Miller Court finds a constitutional violation (doc. 174).

Citing the standard for a dismissal under Fed. R. Civ. Pro.

12(b)(6),        the    Magistrate     Judge     found   that   the    Plaintiffs’

allegations with respect to the non-religious claims lack any

supporting factual allegations, and simply assert that ODRC’s

policies unconstitutionally favor Abrahamic religions (Judaism,

Christianity,          and   Islam)   to   the    detriment     of    non-Abrahamic

religions, and that ODRC’s “Security Threat Group” designations

violate the Constitution (Id.).             However, as the Magistrate Judge

acknowledged, these allegations “do not link with any particular

defendant, nor do they include basic information such as: who,

what, when or where” (Id.).

             The Magistrate Judge next considered Plaintiffs’ motions

for partial summary judgment and concluded that they should be

denied (Id.).          The Magistrate Judge found Plaintiffs’ contentions


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that the ODRC’s policies are overbroad and unconstitutionally

vague,    conclusory,      and   failed    to    meet   the   Supreme    Court’s

“unreasonableness” standard for determining whether prison policies

or regulations unconstitutionally infringe prisoners’ rights (Id.).

Therefore, the Magistrate Judge concluded Plaintiff failed to

establish that there are no genuine issues of material fact with

respect to these claims, and further recommended they be dismissed

(doc. 174.).

       A. Plaintiffs’ Objections

             Plaintiffs filed a timely objection to the Report and

Recommendation, primarily reasserting their original claims and

arguing    that   the   Magistrate     Judge’s    recommended     dismissal    is

incorrect because, as Pro Se Plaintiff’s they met the liberal

construction requirements under Fed. R. Civ. Pro. 8(a) (doc. 180).

The Plaintiffs further aver that the Magistrate Judge erroneously

recommended denial of Plaintiffs’ two motions for Summary Judgment,

arguing that the Magistrate failed to adequately examine the full

record and that Plaintiffs established that there are no genuine

issues of material fact because the policies in question are not

reasonably related to legitimate penological interests (Id.).                  In

addition, Plaintiffs argue that because the Magistrate Judge only

recommended that their partial summary judgment motions be denied,

he did not dismiss their claims, and as such, they should be

allowed to proceed (Id.).           Lastly, in Plaintiffs’ supplemental


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objections to the Report & Recommendation, Plaintiffs argue that

dismissal of their allegedly “duplicative” religious claims is

incorrect, citing Defendants contradictory positions taken in the

Miller case and in this Court (doc. 193).                Plaintiffs assert that

in the interest of fair play and justice, they should be allowed to

bring    these    claims    now,   in   this   Court     because   they   are   not

“entirely duplicative” of those brought in the Miller case (Id.).

On October 14, 2008 when Plaintiffs filed a motion with the Miller

Court    to   present      their   religious     claims    in   this   case,    the

Defendants responded by arguing that these religious claims should

not be litigated in Miller because they are different claims, or

Plaintiffs are attempting to add new claims (doc. 193). It appears

that Plaintiffs primarily assert that Defendants are intentionally

attempting       to   prevent   them    from   arguing    these    allegedly    new

religious claims in either court system and in the interest of

justice, should be allowed to continue this litigation to present

these claims (Id.).

       B. Defendants’ Response

              Defendants’ response to Plaintiffs’ objections urge this

Court to adopt the Magistrate Judge’s Report and Recommendation,

arguing that the Magistrate Judge properly distinguished those

claims that are appropriate for this case and those that should be

stayed or dismissed in order to be litigated in the earlier-filed

class action of Miller (doc. 196).             Asserting that once the claims


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have been sorted out, as was done by the Magistrate Judge, the

claims that remain in this case should be dismissed as vague,

generalized, and conclusory (Id.).           Primarily, Defendants point to

Plaintiffs’ claims regarding unconstitutional establishment of

Abrahamic religions, selective enforcement of the “unauthorized

group activity” policy, equal protection, and free speech and

political association, contending that they “were devoid of any

factual allegations or support” (Id.).                Citing a recent Sixth

Circuit case, Defendants argue that “[I]n the context of a civil

rights claim, . . . conclusory allegations of unconstitutional

conduct without specific factualy allegations fail to state a

claim.” Harden-Bey v. Rutter, 524 F.3d 789, 796 (6th Cir. 2008),

quoting Lillard v. Shelby Bd. Of Educ., 76 F.3d 716,726 (6th Cir.

1996).

       C. Plaintiffs’ Reply

             The Plaintiffs’ reply primarily reasserts their argument

that the religious claims should not be dismissed as duplicative of

those in the Miller case (doc. 198). Plaintiffs further argue that

because    the    Defendants    failed    to   respond    to   their    specific

objections regarding their allegedly conflicting positions in this

court and in the Miller court regarding the Plaintiffs’ religious

claims    this    Court   should    not   adopt    the   Judge’s    Report    and

Recommendation (Id.).




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       D. Discussion

               The Court finds Plaintiffs’ objections misplaced and

without merit.      First, Plaintiff’s objections to the dismissal of

their religious accommodations claims are unwarranted because as

the Magistrate Judge correctly found, the Plaintiffs’ claims in

this action are “truly duplicative” of those in an earlier filed

class-action      involving    only    minor     factual   differences.       The

Defendants’ arguments in the Miller Court as to the nature of the

religious claims in this case are immaterial, and Plaintiffs’

objections thereto are vague and speculative at best.                This Court

agrees with the Magistrate and the Defendants’ that notwithstanding

the    minor    differences     between    the    two   cases,   dismissal     is

appropriate here because of the “nature of the system-wide relief

sought” in Miller (doc. 174).             Here, because Plaintiffs are all

part of the non-opt-out class in the first-filed action (Miller)

and are represented by counsel in that case, the Plaintiffs would

suffer no harm or prejudice in not being allowed to proceed on the

same claims in this Court.        The Court finds that in the interest of

judicial economy and Defendants’ ability to formulate a system-wide

policy in accommodating such religious beliefs, “the court in which

an action was first filed” should resolve all the issues presented

by the separate actions.         Eberle v. Wilkinson, Case No. 2:03 -cv-

272, 2008 WL 886138, at 2-3 (S.D.Ohio March 28, 2008) (citing Smith

v. Securities and Exchange Comm’n, 129 F.3d at 360).


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              This Court further agrees with Defendants’ that the non-

religious claims remaining are conclusory and generalized (doc.

196).      Plaintiffs     argument       that    the       Magistrate   Judge    merely

recommended denial of their partial summary judgment motion with

regard to certain of these non-religious claims, and therefore they

should be allowed to proceed on such claims is misplaced (doc.

198).      In the Report and Recommendation the Magistrate Judge

recommended dismissal of all “non-religious” claims, which includes

all    such    non-religious     claims         regarding      ODRC’s    policies    on

recognition of name changes and work proscriptions, stating that

“the allegations in this category fail to state a claim” and should

be dismissed (Id.).         The Court agrees that such claims lack any

factual foundation or the necessary allegations to support the

claims, and therefore, fail to state a claim upon which relief can

be granted and should be dismissed.

III. October 15, 2008 Report and Recommendation

              The Magistrate Judge’s second Report and Recommendation

before this Court addressed the remaining claims that are not

considered     duplicative     of    those      presented       in   Miller,    namely,

Plaintiff      Blankenship’s        42   U.S.C.        §    1983     action,    seeking

injunctive, declaratory, and monetary relief against several state

prison officials and employees for alleged violations of his First,

Eighth, and Fourteenth Amendment rights (doc. 181).

              The Magistrate Judge first considered Plaintiff’s motion


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 for a preliminary injunction requiring Defendants to permit him to

 possess excess legal materials within his cell and concluded that

 the motion be denied (doc. 181).          In so concluding, the Magistrate

 Judge properly recognized the factors to be balanced in determining

 whether to issue a temporary restraining order:

       1. Whether the party seeking the injunction has shown a
          substantial likelihood of success on the merits;
       2. Whether the party seeking the injunction will suffer
          irreparable harm absent the injunction;
       3. Whether an injunction will cause others to suffer
          substantial harm; and
       4. Whether the public interest would be served by a
          preliminary injunction.

 (doc. 181, citing U.S. v. Bayshore Associates, Inc., 934 F.2d 1391,

 1398 (6th Cir. 1991)).        In balancing these factors, the Magistrate

 Judge found that Plaintiff failed to allege facts indicating a

 substantial likelihood of success on the merits or that he would

 suffer irreparable harm absent a preliminary injunction, and that

 monetary or economic harm alone does not constitute such harm

 (Id.).    Additionally, the Magistrate concluded that the purpose of

 a preliminary injunction is preserving the status quo, and in this

 case,    such   a   purpose   would   not    be   served   because    Plaintiff

 presently seeks an Order from the Court requiring Defendants to

 affirmatively correct constitutional deficiencies yet to be proven,

 and such relief is beyond the scope and purpose of a preliminary

 injunction (Id.).

             The Magistrate Judge next considered Plaintiff’s motion

 for partial summary judgment in order to prevent Ross Correctional

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 Institution      (RCI)    employees    from   enforcing      ODRC    excess    legal

 materials      policy,    and    concluded    it   should    be    denied    because

 Plaintiff cannot show with specificity how his constitutional

 rights have been impinged by RCI’s policy (Id.).                    In support of

 this motion, Plaintiff argued that a prison regulation restricting

 access    to     excess    legal    materials      once     every    30     days   is

 unconstitutional because he is hindered in his legal research and

 ability to litigate his own case as well as another inmate, Mr.

 Mann’s case (doc. 82).           Plaintiff argued that because other RCI

 policies exempt the 2.4 cubic foot space in-cell property storage

 limits for some property, the policy limiting his storage space for

 legal materials is unfair (Id.).              Plaintiff further argued that

 because he is a Plaintiff in this case and two other pending cases,

 and is helping Mr. Mann in his lawsuit, he needs to be free from

 the excess legal materials policy (Id.).                  Defendants challenged

 this motion however, asserting that there are genuine issues of

 material fact as to whether Plaintiff was denied access to the

 court    and    whether    the     policy    was   related    to    a     legitimate

 penological interest (doc. 181).

                The   Magistrate     Judge,    applying      the    proper    summary

 judgment standard of review, herein incorporated, considered each

 of these arguments and agreed with the Defendants, concluding that

 the Plaintiff must demonstrate an actual injury in order to succeed

 on his constitutional violation claim, and has failed to do so here


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 because he is allowed access to his legal locker box and his cell

 locker box whenever necessary for litigation (doc. 181). Moreover,

 the     Magistrate     Judge   concluded      that       because     Plaintiff      is

 represented by counsel in the other two lawsuits, his ability to

 pursue litigation is not hindered by his limited access to in-cell

 storage of his litigation materials (Id.). Finally, the Magistrate

 concluded that it is against ODRC policy to possess the legal

 materials of another inmate, and as such, the Plaintiff is not

 injured by his inability to possess these materials in excess of

 his permitted in-cell legal materials (Id.).

              Next, the Magistrate Judge considered the parties’ cross

 motions for summary judgment on Plaintiff’s Eighth Amendment denial

 of exercise claim (Id.).            Plaintiff Blankenship alleged that in

 2004    he   was    required   to    remain   in   his    cell     and    was   denied

 recreation, absent medical justification (doc. 13). The Magistrate

 Judge    correctly     cited   the    rule    regarding     cruel        and    unusual

 punishment in violation of the Eighth Amendment, as involving

 prison conditions that constitute the “wanton and unnecessary

 infliction of pain.”       Rhodes v. Chapman, 452 U.S. 337, 347 (1981).

 In this case, where the alleged violation involves the deprivation

 of access to exercise or recreation, the inmate must show that the

 prison officials acted with deliberate indifference requiring proof

 that the official was “subjectively aware” of the risk of harm to

 the inmate.        Farmer v. Breenan, 511 U.S. 825 (1994).               With regard


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 to this claim, the Magistrate Judge found that Plaintiff failed to

 prove or argue that any Defendant acted deliberately indifferent to

 his health or safety (doc. 181).         Here, Plaintiff voluntarily went

 on a religious hunger strike and he therefore requested a medical

 lay-in, requiring him to remain in his current cell placement and

 wear a red medical bracelet or “red band,” identifying the inmate

 as medically restricted and not permitted to or forced to work,

 exercise, or recreate (Id.).          The Magistrate Judge further found

 that it is the prison’s policy that when the medical restriction

 expires, the inmate bears the responsibility of getting the red

 band removed (Id.).        The Magistrate Judge found that the record

 indicated Plaintiff continued his religiously motivated hunger

 strike and further indicated that he would refuse medical treatment

 when the Prison medical staff indicated that he needed additional

 medical evaluation (Id.). The record indicates that after July 20,

 2004, the first time Plaintiff complained of his medical cell

 isolation was on September 14, 2004, at which time his red band was

 removed, making him re-eligible for normal activity (Id.).

              The Defendants asserted and the Magistrate Judge agreed,

 that any failure on the part of the prison medical official to

 remove the band was “at most [an] inadvertent oversight and not

 deliberate     indifference”     (doc.    181).      The   Magistrate     Judge,

 concluded that Defendants were entitled to qualified immunity

 because Plaintiff had not shown either a constitutional violation


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 nor that what Defendants did was “objectively unreasonable” in

 light of clearly established law. See Dickerson v. McClellan, 101

 F.3d 1151, 1157-1158 (6th Cir. 1996).            Therefore, the Magistrate

 Judge recommended summary judgment in favor of Defendants on

 Plaintiff’s Eighth Amendment violation claim (Id.).

             Lastly, the Magistrate Judge considered Brian Timms’

 motions to join in Plaintiff Blankenship’s denial of exercise claim

 and concluded that his motion should be denied (Id.).                        The

 Magistrate Judge correctly noted that if summary judgment is

 entered in favor of Defendants on Plaintiff’s denial of exercise

 claim, Timms’ motion may be denied as moot (Id.). Notwithstanding,

 however, the Magistrate Judge considered Timms’ motion on the

 merits and concluded that it should be denied because it fails the

 “same transaction or occurrence” standard set forward in Fed. R.

 Ci. Pro. 20(a)(1), governing Joinder (Id.).              Citing McCormick v.

 Mays, 124 F.R.D. 164 (S.D. Ohio 1988), the Judge noted that even

 though the terms “transaction or occurrence” are given broad and

 liberal interpretation, “mere factual similarity is not sufficient

 to compel joinder” (Id.).         Here, because Plaintiff Blankenship’s

 claim arises out of a 2004 incident in which his alleged injury

 arose out of improper operation of medical lay-in practice, while

 Timms’ alleged injury arises out of a 2005 incident involving a

 properly operated medical lay-in, the Magistrate concluded that

 “the difference between parties, time frames, and circumstances


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 makes joinder improper under Rule 20" (doc. 181).

       A. Plaintiff’s Objections

             Plaintiff Blankenship objects to the Magistrate Judge’s

 Report and Recommendation, asserting first, with respect to his

 denied access to legal materials claim, that in denying Plaintiff’s

 motions for injunctive relief and partial summary judgment, the

 Magistrate Judge ignored Plaintiff’s sworn testimony and relied on

 Defendants’ allegedly untruthful claims as to the dates and times

 the Plaintiff was allowed access to his legal materials (doc. 185).

 Plaintiff essentially claims that his legal materials should be

 exempt from the prison policy limiting property stored in cells to

 2.4 cubic feet (Id.).

             Next, Plaintiff objects to the Judge’s finding that              his

 motion    for   summary    judgment    on    his   denial   of   exercise    and

 recreation claim should be denied, arguing that he did not fail to

 return to the infirmary to have his medical idle status removed,

 and that it was not within his control or responsibility to do so

 (Id.).     Plaintiff further asserts that the Defendants were not

 merely negligent in failing to remove his medical idle status,

 rather it was a deliberate attempt to keep him on such status to

 “frustrate legal action” (Id.).         Lastly, Plaintiff argues that the

 Magistrate Judge ignored the Wilson Court’s finding that the

 deprivation of exercise can rise to the level of cruel and unusual

 punishment, and that the prison’s policy denying medical idle


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 status to inmates exercise without regard to the specific medical

 condition of each, is unconstitutional (Id.).

       B. Defendants’ Response

             Defendants respond to Plaintiff’s objections by re-

 arguing that they presented evidence proving that Plaintiff was

 allowed access to legal materials at least once every 30 days and

 more often if necessary (doc. 196).          Defendants further argue that

 the Magistrate Judge correctly found that Plaintiff failed to

 demonstrate an actual injury or any violation of a constitutional

 right and therefore summary judgment for the Defendants is proper

 (Id.).

             Next, Defendants reply to Plaintiff’s objection with

 regard to his denial of exercise claim, primarily urging this Court

 to adopt the Magistrate Judge’s Report and Recommendation, and

 grant Defendants’ motion for summary judgment (Id.).                 Defendants

 argue that because Plaintiff was put on medical idle status due to

 his voluntary hunger strikes, and his status was further prolonged

 as a direct result of such strikes, it was his responsibility to

 see that his status was removed and he did not fulfill that

 responsibility until September 14, 2004, at which time his medical

 idle status was in fact removed (Id.).               Defendants assert that

 Plaintiff has failed to provide any evidence contradicting these

 facts, and that any inconvenience created was by his own making,

 unattributable to any deliberate indifference on their part (Id.).


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       C. Plaintiff’s Reply

             Plaintiffs reply by again asserting that the Defendants

 failed to respond to the Plaintiffs’ objections to the recommended

 dismissal     of    the   unconstitutional        ODRC      policies      (doc.    198).

 Plaintiff further argues that the record reflects Defendants were

 fully aware of his medical idle status and still “deliberately”

 failed to take him off such status as a “ruse” to attempt to

 persuade the courts that Plaintiff should not be eligible for

 religious    work     proscription    because        such    medical      idle    status

 prohibited him from working (doc. 198).

       D. Discussion

             After thoroughly reviewing this matter, the Court finds

 Plaintiff’s        objections     without     merit.         Regarding      Plaintiff

 Blankenship’s       denial   of    access       claim,      the    Magistrate      Judge

 correctly found that genuine issues of material fact as to whether

 Blankenship was denied access to the court as a result of the

 excess legal materials policy, and as to whether the regulation is

 reasonably related to a legitimate penological interest (doc. 181).

 Therefore, Plaintiff is not therefore entitled to summary judgment

 on this claim.

             Further,      Plaintiff’s       objections        to    the   Report     and

 Recommendation       regarding     his      denial     of    exercise      claim     are

 unfounded.     As both the Magistrate Judge and Defendants’ pointed

 out, Plaintiff voluntarily engaged in religious hunger strikes, was


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 put on medical idle status because of said hunger strikes, refused

 medical treatment and continued hunger strikes, all of which

 resulted in extension of his medical idle status (Id.). The record

 makes clear Plaintiff’s voluntary involvement in the activities in

 which resulted in his medical idle status to begin with, and any

 deprivation     of   exercise    rights     was     not     attributable        to   any

 “deliberate     indifference”       on    the    part     of    the    Defendants    as

 evidenced by their expedient removal of Plaintiff’s medical band

 once notified of his eligibility for such removal (Id.).                             The

 Defendants argued and this Court agrees, that they should not be

 held   responsible     for   Plaintiff’s         choice    to    embark    on   hunger

 strikes, to refuse treatment, or to fail to report to the medical

 department for removal of medical band and medical idle status

 (doc. 196).      Furthermore, the Court agrees with the Magistrate

 Judge that Defendants are entitled to qualified immunity on this

 claim because Plaintiff has not shown either a constitutional

 violation     nor    that    what    Defendants           did    was    “objectively

 unreasonable” in light of clearly established law. See Dickerson v.

 McClellan, 101 F.3d 1151, 1157-1158 (6th Cir. 1996).

             This Court further agrees that Brian Timms’ motion to

 Join should be denied, because “the difference between parties, and

 time frames and circumstances makes joinder improper” (doc. 181).

 This Court finds the Magistrate Judge’s Report and Recommendation

 to be well-reasoned and correct.                Plaintiff’s denial of exercise


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 claim should therefore be dismissed and the only remaining issue in

 this     case    is   Plaintiff     Blankenship’s       claim      alleging    an

 unconstitutional ODRC policy regarding excess legal materials.

 IV. Conclusion

             Having reviewed this matter de novo pursuant to 28 U.S.C.

 636(b),    the   Court    ADOPTS    the   Magistrate    Judge’s     Report    and

 Recommendations in their entirety (docs. 174, 181), and thus the

 Court:

             1) GRANTS Defendants’ motion to dismiss (doc. 71), and

 thus DISMISSES Plaintiffs’ claims for injunctive and declaratory

 relief     concerning     religious       accommodation,     but     STAYS    any

 determination of damages pending the resolution of Plaintiffs’

 religious accommodation claims in Miller; and DISMISSES Plaintiffs’

 non-religious accommodations claims pursuant to Fed. R. Civ. P.

 12(b)(6);

             3)   DENIES    Plaintiffs’       Motions   for   partial    summary

 judgment (docs. 110, 115);

             4) DENIES Plaintiffs’ Motion to appoint counsel and to

 certify class (doc. 112);

             5) DENIES Plaintiff Blankenship’s Motions for Preliminary

 Injunction (doc. 81), and Motions for Partial Summary Judgment

 (docs. 82, 96);

             6) DENIES Brian Timms’ Motions to Join (docs. 83, 97);

             7) GRANTS Defendants’ Motion for Partial Summary Judgment


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 on Plaintiff Blankenship’s denial of exercise claim (doc. 124).

               Therefore, the only issue remaining in this case is

 Plaintiff Blankenship’s claim of denial of access to the courts due

 to an allegedly unconstitutional ODRC policy regarding excess legal

 materials.

              Further, the Court DECLINES to issue a certificate of

 appealability because the Court does not find that Petitioner has

 demonstrated “that the issues are debatable among jurists of

 reason; that a court could resolve the issues [in a different

 manner];     or   that    the   questions     are    ‘adequate     to    deserve

 encouragement to proceed further.’” Barefoot v. Estelle, 463 U.S.

 880, 893 & n.4 (1983) (internal quotations omitted).                    Finally,

 pursuant to 28 U.S.C. § 1915(a)(3), this Court CERTIFIES that any

 appeal of this Order will not be taken in good faith, and any

 application to appeal in forma pauperis will be denied.

              SO ORDERED.


 Dated:    __________                ___________________________________
                                     S. Arthur Spiegel
                                     United States Senior District Judge




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